Case 2:03-cv-02869-.]DB-dkv Document 43 Filed 08/31/05 Page 1 of 2 Page|D 55

IN THE UNITED sTATEs DISTRICT CoURT F"£D B"»’ ”_ o.c.
FoR THE WESTERN DISTRICT oF TENNESSEE
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Plaimirf,
v. CASE No. 03-2869-13\/
STATE or TENNESSEE,

TENNESSEE DEPARTMENT OF
CORRECTIONS, BRUCE WESTBROOKS,
in his individual capacity, and JAMES M.
DUKES, in his individual capacity,

Defendants.

 

ORDER GRANTING PLAINTIFF”S UNOPP()SED MOTION FOR
MODIFICATION OF THE COURT’S SCHEDULING ORDER

 

It appearing to this Court that good cause is shown and that Plaintiff’s Motion for
l\/Iodiflcation of the Court’s Scheduling Order should be granted;

IT IS, THEREFORE, ORDERED that this Court’s Scheduling Order be modified
to change the current discovery cutoff date until October 22, 2005 and be modified to

change the dispositive motion deadline until November 22, 2005.

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This notice confirms a copy of` the document docketed as number 43 in
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Honorable J. Breen
US DISTRICT COURT

